









02-11-012-CV












 
  
  
   
    
   
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

NO. 02-11-00012-CV

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&nbsp;


 
  
  Mary Seals
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Olive Nicholson
  
  
  &nbsp;
  
  
  APPELLEE
  
 


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FROM County
Court at Law No. 1 OF Tarrant
COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

On
May 10, 2011, we notified appellant that her brief had not been filed as
required by Texas Rule of Appellate Procedure 38.6(a).&nbsp; See Tex. R.
App. P. 38.6(a).&nbsp; We stated we could dismiss the appeal for want of
prosecution unless appellant or any party desiring to continue this appeal
filed with the court within ten days a response showing grounds for continuing
the appeal.&nbsp; See Tex. R. App. P. 42.3.&nbsp; We have not received
any response.

Because
appellant's brief has not been filed, we dismiss the appeal for want of
prosecution.&nbsp; See Tex. R. App. P. 38.8(a), 42.3(b), 43.2(f).

&nbsp;

&nbsp;

PER CURIAM

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PANEL:&nbsp;
MCCOY, MEIER, and GABRIEL, JJ.&nbsp; 

&nbsp;

DELIVERED:&nbsp;
June 2, 2011 



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[1]See Tex. R. App. P. 47.4.









